Case 1:04-cv-OlO40-.]DT-STA Document 50 Filed 06/17/05 Page 1 of 2 Page|D 60

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IN THE UNITED STATES DISTRICT COURT D UY"`"----_D.C.

FoR THE WESTERN DISTRICT oF TENNESSEE 05 JU~ l
EASTERN DIvIsIoN 7 PH '4= liU
RoY LEE WADE,
Piaimifr,
VS»

NO.: 04-1040-T-An

MARK DAVIDS()N, et al.,

\_/\,/\-/\_/`~_/\_/\_V\-/\_/

Defendants.

 

ORDER

 

On December 21, 2004, the Clerk of the Court entered default against Defendant J ames
Clifford. In an Order entered On June 15 , 2005, United States District Court Chief Judge J ames
D. Todd granted the Plaintiff’s Motion for Defau]t Judg:ment against this Defendant. (D.E. #49).
Judge Todd referred this matter to the Magistrate Judge for a report and recommendation
regarding damages

As such, the Plaintiff is directed to submit a Memorandum of Facts and Law to the Court
on the issue of damages within 20 days of entry of this Order.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: (/&UM-L /7,, Z_O°J_‘

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Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
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Honorable J ames Todd
US DISTRICT COURT

